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                 4                                   UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:10-CR-365 JCM (PAL)
                 8                                              Plaintiff(s),                      ORDER
                 9              v.
               10        BRAD FUSSELL
               11                                             Defendant(s).
               12
               13              Presently before the court is the case of United States v. Brad Fussell, No. 2:10-cr-00365-
               14       JCM-PAL.
               15              On November 12, 2015, the United States Court of Appeals for the Ninth Circuit (the
               16       “appeal court”) ordered this court to collectively construe Mr. Fussell’s notice of appeal (doc. #
               17       216) and notice that he did not receive timely notice of the court’s order (doc. # 215) as a motion
               18       to reopen time for appeal under Federal Rule of Appellate Procedure (“FRAP”) 4(a)(6). In its
               19       order, the appeal court stated that “[i]f the district court grants the [FRAP] 4(a)(6) motion,
               20       appellant does not need to file a new notice of appeal.” (Doc. # 218 at 2).
               21              On November 19, 2015, this court entered an order granting pro se defendant Brad
               22       Fussell’s motion to reopen time for appeal. (Doc. # 219). In the order, the court ordered the appeal
               23       period to be reopened for 14 days from the date of that order. This is the period of time required
               24       by FRAP 4(a). Out of concern that there may be confusion amongst the parties, the court now
               25       clarifies that Mr. Fussell does not need to file an additional notice of appeal within the period.
               26              Consistent with the appeal court’s order, Mr. Fussell’s original notice of appeal, filed
               27       November 2, 2015, will be deemed timely filed on today’s date, within the reopened time for
               28       appeal. That being the case, the periods of time within which to file with the appeals court any and

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U.S. District Judge
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                1       all papers, notices, or other documents required by the Federal Rules of Civil and Appellate
                2       Procedure shall run from today’s date.
                3               Accordingly,
                4               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the notice of appeal filed
                5       by Brad Fussell on November 2, 2105, (doc. # 216) shall be deemed timely filed on the date of
                6       this order.
                7               IT IS FURTHER ORDERED that the clerk of the court shall serve a copy of this order on
                8       defendant Brad Fussell.
                9               DATED November 23, 2015.
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              11                                                   __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
